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                                                                                              January 23, 2025

             VIA ECF

             District Judge Nelson S. Roman
             U.S.D.C., Southern District of New York
             The Hon. Charles L. Brieant Jr.
             Federal Building and United States Courthouse
             300 Quarropas St.
             White Plains, NY 10601-4150

                        RE:         Perez, et al v. Schulte Hospitality Group, Inc., et al
                                    Civil Action No. 7:24-cv-05190

             Dear Judge Roman:

                    We represent Defendant Schulte Hospitality Group, Inc., in the above-referenced matter. We
             write on behalf of all Defendants, and jointly with Plaintiffs’ counsel on behalf of all Plaintiffs, to
             provide the Court with a status update in accordance with the Court’s Order requesting same. [ECF
             Doc. 33.] The parties are pleased to report that they have reached a settlement resolving all claims in
             this matter at mediation before Mediator Dina Jansenson on December 23, 2025. The parties are
             working to finalize settlement agreements and anticipate submitting a notice of dismissal with
             prejudice by March 15, 2025.

                        We thank the Court for its time and attention to this matter.

                                                                                              Sincerely,



                                                                                              Kimberly R. Karseboom




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